Case 2:22-cv-00346-RSWL-AS Document 1 Filed 01/17/22 Page 1 of 6 Page ID #:1



 1 Mathew K. Higbee, Esq., State Bar No. 241380
   Hany Gonzalez, Esq., State Bar No. 335677
 2 HIGBEE & ASSOCIATES
   1504 Brookhollow Dr., Suite 112
 3 Santa Ana, CA 92705
   (305) 764-9262
 4 (714) 597-6559 facsimile
   mhigbee@higbeeassociates.com
 5 hgonzalez@higbeeassociates.com
 6 Attorneys for Plaintiff,
    LISA CORSON
 7
 8
                          UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10   LISA CORSON,                              Case No. 2:22-cv-346
11                            Plaintiff,
                                               COMPLAINT FOR
12   v.
                                                   (1) COPYRIGHT
13                                                     INFRINGEMENT
     THE SOCIETY GROUP LLC, and
14   DOES 1 through 10 inclusive,
15                            Defendants.
16
17
18
           Plaintiff Lisa Corson, for her Complaint against Defendants The Society
19
     Group LLC and DOES 1 through 10 inclusive, alleges as follows:
20
                               JURISDICTION AND VENUE
21
           1.      This is a civil action seeking damages and injunctive relief for
22
     copyright infringement under the Copyright Act of the United States, 17 U.S.C. §
23
     101 et seq.
24
           2.      This Court has subject matter jurisdiction over Plaintiff’s claims for
25
     copyright infringement pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1338(a).
26
           3.      This court has personal jurisdiction over Defendant because
27
     Defendant’s acts of infringement complained of herein occurred in the state of
28

                                               1
Case 2:22-cv-00346-RSWL-AS Document 1 Filed 01/17/22 Page 2 of 6 Page ID #:2



 1   California, Defendant’s acts of infringement were directed towards the state of
 2   California, Defendant caused injury to Plaintiff within the state of California, and
 3   Defendant has a physical presence in the state of California.
 4         4.     Venue in this judicial district is proper under 28 U.S.C. § 1391(c) and
 5   1400(a) in that this is the judicial district in which substantial part of the acts and
 6   omissions giving rise to the claim occurred.
 7                                         PARTIES
 8         5.     Plaintiff Lisa Corson (“Corson”) is an individual and professional
 9   photographer.
10         6.     Defendant The Society Group LLC (“Society Group”) is a California
11   business with a business address of 8560 Sunset Blvd, Penthouse, West Hollywood,
12   CA 90069.
13         7.     Plaintiff is unaware of the true names and capacities of the Defendants
14   sued herein as DOES 1 through 10, inclusive, and for that reason, sues such
15   Defendants under such fictitious names. Plaintiff is informed and believes and on
16   that basis alleges that such fictitiously named Defendants are responsible in some
17   manner for the occurrences herein alleged, and that Plaintiff’s damages as herein
18   alleged were proximately caused by the conduct of said Defendants. Plaintiff will
19   seek to amend the complaint when the names and capacities of such fictitiously
20   named Defendants are ascertained. As alleged herein, “Defendant” shall mean all
21   named Defendants and all fictitiously named Defendants.
22                               FACTUAL ALLEGATIONS
23         8.     Lisa Corson is a highly successful freelance photographer specializing
24   in travel, food, interiors, luxury, lifestyle, and hospitality photography.
25         9.     Corson’s photography has been featured in numerous publications and
26   brand advertising. Corson’s work has been featured in top publications such as The
27   New York Times, The Washington Post, The Wall Street Journal, and many more.
28

                                                 2
Case 2:22-cv-00346-RSWL-AS Document 1 Filed 01/17/22 Page 3 of 6 Page ID #:3



 1   Additionally, her work has been used commercially by brands such as Google,
 2   AARP, and Simon & Schuster.
 3         10.   Corson is the sole author and exclusive rights holder to two
 4   photographs of the exterior of the Playboy Mansion: a photograph of a driveway
 5   leading up to the exterior of the Playboy Mansion (“Playboy Mansion Photograph
 6   1”) and a photograph of the lawn of the Playboy Mansion with the Playboy
 7   Mansion in the background (“Playboy Mansion Photograph 2”) (“collectively, the
 8   Photographs”).
 9         11.   Attached hereto as Exhibit A is a true and correct copy of the
10   Photographs.
11         12.   Corson registered the Photographs with the United States Copyright
12   Office. The Photographs are registered under Registration Number VAu 1-234-420.
13         13.   Defendant Society Group is part of the public relations services
14   industry. It channels the power of storytelling to market properties like Hollywood
15   movies, with distinct story lines, one-of-a-kind real estate trailers, and immersive
16   events designed to get prospective buyers through the door.
17         14.   Society Group is the award-winning industry leader for property public
18   relations that has helped launch over $3 billon in luxury real estate worldwide. In
19   2016, it was a Entrepreneur360 winner, in which Entrepreneur magazine ranked it
20   amongst the top entrepreneur companies in America.
21         15.   Society Group is the owner and operator of the website
22   https://www.societygrouppr.com (“Current Website”); on information and belief,
23   Society Group was also the previous owner and operator of the website
24   https://society-manor.squarespace.com (“Previous Website”) (“collectively, the
25   Photographs”).
26         16.   Society Group advertises its services through its Websites.
27         17.   On or about November 4, 2020, Corson discovered the Playboy
28   Mansion Photograph 1 being used by Society Group on its Current Website. On or

                                              3
Case 2:22-cv-00346-RSWL-AS Document 1 Filed 01/17/22 Page 4 of 6 Page ID #:4



 1   about November 12, 2020, Corson also discovered the Playboy Mansion
 2   Photograph 2 being used by Society Group on its Previous Website.
 3         18.    Society Group’s Previous Website included a link to a Portable
 4   Document Format (PDF) that could be downloaded by its users: https://society-
 5   manor.squarespace.com/s/Playboy-Mansion-Sale-Is-Next-Step-in-
 6   BuTransformation-Exclusive-Photos-WSJ.pdf (“PDF Link)”. The PDF Link
 7   included an article that displayed the Playboy Mansion Photograph 2. The PDF
 8   states that the copy is to be used for “personal, noncommercial use only.”
 9         19.    Society Group used the Photographs on its Websites and the PDF Link
10   to showcase how the iconic estate was sold for $100 million dollars and was
11   previously listed for $200 million dollars.
12         20.    Attached hereto as Exhibit B is a true and correct screenshot of the use
13   of the Photographs on Society Group’s Current Website and the PDF Link.
14         21.    In no event did Corson offer Society Group a license to use her
15   Photographs in any manner.
16         22.    Corson is informed and believes Society Group created unauthorized
17   copies of the Photographs.
18         23.    Corson is informed and believes Society Group uploaded the
19   Photographs to Society Group’s Websites and the PDF Link.
20         24.    Corson has made several attempts to settle this case prior to the filing
21   of this Complaint.
22
                              FIRST CAUSE OF ACTION
23                           COPYRIGHT INFRINGEMENT
                                  17 U.S.C. § 101 et seq.
24
           25.    Plaintiff incorporates by reference all of the above paragraphs of this
25
     Complaint as though fully stated herein.
26
           26.    Plaintiff did not consent to, authorize, permit, or allow in any manner
27
     the said use of Plaintiff’s unique and original Photographs.
28

                                                   4
Case 2:22-cv-00346-RSWL-AS Document 1 Filed 01/17/22 Page 5 of 6 Page ID #:5



 1         27.    Plaintiff is informed and believes and thereon alleges that said
 2   Defendant willfully infringed upon Plaintiff’s copyrighted Photographs in violation
 3   of Title 17 of the U.S. Code, because, inter alia, the Defendant also knew or should
 4   have known that they did not have a legitimate license for the Photographs.
 5         28.    As a result of Defendant’s violation of Title 17 of the U.S. Code,
 6   Plaintiff is entitled to actual damages and profits pursuant to 17 U.S.C. §504(b), or
 7   statutory damages in an amount up to $150,000.00 for each infringement pursuant
 8   to 17 U.S.C. § 504(c).
 9         29.    As a result of the Defendant’s violations of Title 17 of the U.S. Code,
10   the court in its discretion may allow the recovery of full costs as well as reasonable
11   attorney’s fees and costs pursuant to 17 U.S.C § 505 from Defendant.
12         30.    Plaintiff is also entitled to injunctive relief to prevent or restrain
13   infringement of her copyright pursuant to 17 U.S.C. § 502.
14   ///
15   ///
16   ///
17   ///
18   ///
19   ///
20   ///
21   ///
22   ///
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///

                                               5
Case 2:22-cv-00346-RSWL-AS Document 1 Filed 01/17/22 Page 6 of 6 Page ID #:6



 1                               PRAYER FOR RELIEF
 2   WHEREFORE, Plaintiff prays for judgment against Defendant as follows:
 3      • For a finding that Defendant infringed Plaintiff’s copyright interest in the
 4         Photographs by copying, displaying, and distributing it without a license or
 5         consent;
 6      • For an award of actual damages and disgorgement of all of profits
 7         attributable to the infringement as provided by 17 U.S.C. § 504 in an amount
 8         to be proven or, in the alternative, at Plaintiff’s election, an award for
 9         statutory damages against Defendant in an amount up to $150,000.00 for
10         each infringement pursuant to 17 U.S.C. § 504(c), whichever is larger;
11      • For an injunction preventing Defendant from further infringement of all
12         copyrighted works of the Plaintiff pursuant to 17 U.S.C. § 502;
13      • For costs of litigation and reasonable attorney’s fees against Defendant
14         pursuant to 17 U.S.C. § 505;
15      • For pre judgment interest as permitted by law; and
16      • For any other relief the Court deems just and proper.
17
18   Dated:      January 17, 2022          Respectfully submitted,
19
                                                  s/ Mathew K. Higbee
20                                                Mathew K. Higbee, Esq.
                                                  Cal. Bar No. 241380
21
                                                  HIGBEE & ASSOCIATES
22                                                1504 Brookhollow Dr., Ste 112
                                                  Santa Ana, CA 92705-5418
23                                                (714) 617-8358
24                                                (714) 597-6559 facsimile
                                                  Attorney for Plaintiff
25
26
27
28

                                              6
